878 F.2d 379Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Phillip Wendell TAYLOR, Petitioner-Appellant,v.Thomas R. ISRAEL, Attorney General of the State of Virginia,Respondents-Appellees.
    No. 89-7062.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 11, 1989.Decided June 20, 1989.Rehearing Denied July 27, 1989.
    
      Phillip Wendell Taylor, appellant pro se.
      Mary Sue Terry, Attorney General, for appellees.
      Before CHAPMAN and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Phillip Wendell Taylor seeks to appeal the district court's dismissal of this 28 U.S.C. Sec. 2254 action for failure to pay the assessed filing fee.  Finding that the district court properly complied with the procedures approved in Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and did not abuse its discretion in dismissing the action without prejudice, we deny leave to proceed in forma pauperis, deny a certificate of probable cause to appeal, and dismiss the appeal.  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      2
      DISMISSED.
    
    